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                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                         CHAPTER 11

MICHAEL R. SMITH, DEBTOR                                        CASE NO.: 08-10080-DWH

______________________________________________________________________________

CONSERVATORSHIP OF MAGGIE MAE SMITH                                               PLAINTIFF

v.                                                 ADV. PROCEEDING NO. 08-01181-DWH

MICHAEL R. SMITH, SR.                                                           DEFENDANT

                MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL

       COMES NOW Laura Henderson-Courtney (hereinafter “Movant”), and files this Motion

to Withdraw and Substitute Counsel, and in support thereof would show the following:

       1. Movant is no longer employed with the Ringer & Lingold law firm, and as a result,

she is no longer involved in the representation of the Conservatorship of Maggie Mae Smith.

       2. David Ringer, and the law firm of Ringer & Lingold continue to represent the

interests of the Conservatorship of Maggie Mae Smith, and said attorneys should be substituted

as attorneys of record in this case.

       3. All future notices in this case should be sent to David Ringer, Ringer & Lingold, P.O.

Box 737, Florence, MS 39073.

       WHEREFORE, PREMISES CONSIDERED, Laura Henderson-Courtney prays that she

be allowed to withdraw as counsel for the Plaintiff, and that David Ringer, and the Ringer &

Lingold law firm be substituted as counsel for the Conservatorship of Maggie Mae Smith.

       Respectfully submitted this the 8th day of February, 2012.


                                                     /s/ Laura Henderson-Courtney
                                                     Laura Henderson-Courtney, MSB #2266
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Facsimile: (601) 362-5673
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing with the Clerk of the
Court using the ECF system which sent notification of such filing to the parties set forth in the
Electronic Mail Notice list as of the date hereof, including the following:

       Office of the US Trustee
       USTPRegion05.AB.ECF@usdoj.gov

       Craig M. Geno, Esq.
       cmgeno@harrisgeno.com

       Sammye Tharp, Esq.
       sammye.s.tharp@usdoj.gov

       In addition, a copy of the Motion to Withdraw was sent via fist class mail postage prepad
to David Ringer at the Ringer & Lingold law firm, at his address of P.O. Box 737, Flroence, MS
39073, and also sent to the following email address:

       ann@ringerlawfirm.com

       Respectfully submitted this the 8th day of February, 2012.

                                       /s/ Laura Henderson-Courtney
